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                         IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE DISTRICT OF ARIZONA
 9
10   United States of America,                              CR-18-422-PHX-SPL (BSB)
11                        Plaintiff,
                                                                      ORDER
12            v.
13
     Michael Lacey, et al.,
14
                          Defendants.
15
16         Upon the motion of the United States, and good cause showing,
17         IT IS HEREBY ORDERED granting the United States’ motion to extend time to
18   file its reply to the Defendant’s Opposition to United States’ Motion to Resolve Privilege
19   Issues and Cross-Motion to Obtain Discovery and Address Privilege Issues (Doc. 226) to
20   August 10, 2018.
21         IT IS FURTHER ORDERED that excludable delay under 18 U.S.C. § 3161(h) is
22   found to commence from _________________ through __________________.
23         DATED this _______ day of __________, 2018.
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